Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 11–cv–03238–PAB–KMT


  SAMUEL M WALKER, and
  DIANE H WALKER,

         Plaintiffs,

  v.

  FRED WEGENER, individual and official capacity,
  BOBBY PRIESTLY, individual and official capacity,
  CINDY HARDEY, individual and official capacity,
  REBECCA BRAMLETT, individual and official capacity,
  AMY FRANCK, individual and official capacity,
  JUAN GALLEGOS, individual and official capacity,
  DEPT SGT BROWN, individual and official capacity,
  PARK COUNTY,
  PARK COUNTY COMMISSIONERS,
  ATTORNEY GENERAL, COLORADO, official capacity, and
  COURT CLERK, individual and official capacity,

         Defendants.



                                             ORDER


         This matter is before the court on the “Park County Defendants’ Unopposed Motion for a

  Stay Pending Resolution of Defendants’ Motion to Dismiss [Docket Nos. 14 and 15]” (Doc. No.

  27, filed Mar. 7, 2012 [Mot. Stay]) and the “Park County Defendants’ Unopposed Motion to

  Vacate Scheduling Conference and Suspend Disclosure Deadlines” (Doc. No. 29, Mar. 14, 2012

  [Mot. Vacate]). For the following reasons, the court grants both motions.
Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 2 of 6




           In this suit, Plaintiffs assert several claims for relief pursuant to 42 U.S.C. § 1983, for

  alleged violations of their constitutional rights. (See Compl., Doc. No. 1, filed Dec. 12, 2011.)

  In the “Individual Defendants’ Motion to Dismiss,” filed on January 23, 2012, Defendants

  Wegener, Priestly, Hardey, Bramlett, and Brown (hereinafter the “Individual Defendants”)

  maintain that Plaintiffs’ claims against them should be dismissed pursuant to Fed. R. Civ. P.

  12(b)(1) because they are entitled to qualified immunity. (Doc. No. 15, filed Jan. 23, 2012.)

  Additionally, in their “Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6),” all of the Park

  County Defendants seek to dismiss Plaintiffs’ claims because they either fail to state a claim for

  relief or are barred by Heck v. Humphrey, 512 U.S. 477, 487 (1994). (Doc. No. 14, filed Jan. 23,

  2012.) Accordingly, in their present Motion to Stay, the Park County Defendants seek a stay of

  discovery pending resolution of whether they are entitled to qualified immunity and because the

  combined effect of both motions to dismiss would dispose of this case in its entirety. (See Mot.

  Stay.)

           Immunity provisions, whether qualified, absolute or pursuant to the Eleventh

  Amendment, are meant to free officials from the concerns of litigation, including avoidance of

  disruptive discovery. See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1953 (2009) (citing Siegert v.

  Gilley, 500 U.S. 226, 236 (1991) (Kennedy, J., concurring in judgment)); see also Workman v.

  Jordan, 958 F.2d 332, 335 (10th Cir. 1992) (noting that qualified immunity, if successful,

  protects an official both from liability and the ordinary burdens of litigation, including

  far-ranging discovery) (citing Harlow v. Fitzgerald, 457 U.S. 800, 817-18 (1982)). As explained

  by the Court in Iqbal, there are serious and legitimate reasons for this protection:

                                                      2
Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 3 of 6




         If a Government official is to devote time to his or her duties, and to the
         formulation of sound and responsible policies, it is counterproductive to require
         the substantial diversion that is attendant to participating in litigation and making
         informed decisions as to how it should proceed. Litigation, though necessary to
         ensure that officials comply with the law, exacts heavy costs in terms of
         efficiency and expenditure of valuable time and resources that might otherwise be
         directed to the proper execution of the work of the Government. The costs of
         diversion are only magnified when Government officials are charged with
         responding to [the burdens of litigation discovery].

  Id. at 1953.

         The Federal Rules of Civil Procedure do not expressly provide for a stay of proceedings.

  See String Cheese Incident, LLC v. Stylus Shows, Inc., 02-CV-01934-LTB-PA, 2006 WL

  894955, at *2 (D. Colo. March 30, 2006) (unpublished). Federal Rule of Civil Procedure 26

  does, however, provide that

         [a] party or any person from whom discovery is sought may move for a protective order
         in the court where the action is pending . . . . The court may, for good cause, issue an
         order to protect a party or person from annoyance, embarrassment, oppression, or undue
         burden or expense . . . .

  Fed. R. Civ. P. 26(c). Moreover,

          [t]he power to stay proceedings is incidental to the power inherent in every court to
  control the disposition of the causes on its docket with economy of time and effort for itself, for
  counsel, and for litigants. How this can best be done calls for the exercise of judgment, which
  must weigh competing interests and maintain an even balance.

  Landis v. N. Am. Co., 299 U.S. 248, 254-255 (1936) (citing Kansas City S. Ry. Co. v. United

  States, 282 U.S. 760, 763 (1931)). An order staying discovery is thus an appropriate exercise of

  this court’s discretion. Id.

         Additionally, “a court may decide that in a particular case it would be wise to stay

  discovery on the merits until [certain challenges] have been resolved.” 8A Charles Alan Wright,

                                                   3
Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 4 of 6




  Arthur R. Miller & Richard L. Marcus, Federal Practice and Procedure § 2040, at 198 (3d ed.

  2010). Although a stay of all discovery is generally disfavored, see Bustos v. U.S., 257 F.R.D.

  617, 623 (D. Colo. 2009), a stay may be appropriate if “resolution of a preliminary motion may

  dispose of the entire action.” Nankivil v. Lockheed Martin Corp., 216 F.R.D. 689, 692 (M.D.

  Fla. 2003). See also Vivid Techs., Inc. v.. Am. Sci. & Eng'r, Inc., 200 F.3d 795, 804 (Fed. Cir.

  1999) (“When a particular issue may be dispositive, the court may stay discovery concerning

  other issues until the critical issue is resolved.”) When considering a stay of discovery, this

  court has considered: (1) the plaintiffs’ interests in proceeding expeditiously with the civil action

  and the potential prejudice to plaintiffs of a delay; (2) the burden on the defendants; (3) the

  convenience to the court; (4) the interests of persons not parties to the civil litigation; and (5) the

  public interest. See String Cheese Incident, 2006 WL 894955, at *2.

         Plaintiffs do not oppose a stay of discovery. Therefore, any prejudice to Plaintiffs’

  ability to proceed expeditiously with this case does not weigh heavily in the court’s analysis.

  Moreover, the court finds that any possible prejudice to Plaintiffs is outweighed by the burden on

  Defendants if discovery were to proceed. The Individual Defendants have set forth a thorough

  argument that they are entitled to qualified immunity from Plaintiffs’ § 1983 claims. See Rome

  v. Romero, 255 F.R.D. 640, 643 (D. Colo. 2004) (noting that “a well-supported claim of

  qualified immunity should shield a defendant from unnecessary and burdensome discovery.”)

  Because qualified immunity is meant to free a defendant from the burdens of litigation,

  proceeding with discovery would necessarily burden the Individual Defendants as the defense

  would be lost.

                                                     4
Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 5 of 6




         The court acknowledges that the entity defendants, Park County and the Park County

  Commissioners, do not, and indeed cannot, maintain that they are entitled to qualified immunity.

  Id. at 643 (citing Owen v. City of Independence, 445 U.S. 622 (1980)) (“The [qualified

  immunity] defense is available only to individual government officials, not government

  entities.”) However, under the circumstances presented in this case, the court finds that it would

  be proper to stay discovery as to these defendants as well, as resolving both pending motions to

  dismiss “may dispose of the entire action.” Nankivil, 216 F.R.D. at 692. Additionally, although

  Defendants Suthers and McLimans have not joined in the Park County Defendants’ Motion to

  Stay, the court notes that it has recommended that Defendants Suthers and McLimans’ separate

  motion to dismiss (Doc. No. 3, filed Dec. 22, 2011) be granted. (Doc. No. 21, filed Mar. 2,

  2012.) Thus, Defendants Suthers and McLimans would likewise face an undue burden if forced

  to proceed with discovery while a Recommendation to dismiss Plaintiffs’ claims against them is

  pending.

         As to the third String Cheese factor, although the court does have an interest in managing

  its docket by seeing the case proceed expeditiously, the court finds that any inconvenience that

  might result from rescheduling the docket is outweighed by the potential waste of judicial

  resources if discovery were to proceed only to have the case dismissed in its entirety on qualified

  immunity and other grounds. Finally, neither the interest of nonparties or the public interest in

  general prompt the court to reach a different result.

         Accordingly, on balance, the court finds that a stay of discovery is appropriate in this

  case. Therefore, it is

                                                   5
Case 1:11-cv-03238-RM-KMT Document 31 Filed 03/15/12 USDC Colorado Page 6 of 6




         ORDERED that the “Park County Defendants’ Unopposed Motion for a Stay Pending

  Resolution of Defendants’ Motion to Dismiss [Docket Nos. 14 and 15]” (Doc. No. 27) is

  GRANTED. All discovery in this matter is hereby STAYED pending ruling on the“Motion to

  Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6)” (Doc. No. 14) and the “Individual Defendants’

  Motion to Dismiss” (Doc. No. 15).

         It is further

         ORDERED that the “Park County Defendants’ Unopposed Motion to Vacate Scheduling

  Conference and Suspend Disclosure Deadlines” (Doc. No. 29) is GRANTED. The Scheduling

  Conference set for March 20, 2012 is VACATED. The parties shall file a joint status report

  within ten day of a ruling on the motions to dismiss, if any portion of the case remains pending,

  to advise if the Scheduling Conference should be reset.

         Dated this 15th day of March, 2012.




                                                  6
